Case 0:21-cv-62117-RNS Document 30 Entered on FLSD Docket 01/25/2022 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                           THE SOUTHERN DISTRICT OF FLORIDA


  JOSE JAVIER PEREZ, individually and on
  behalf of all others similarly situated,
                                                            CASE NO. 21-CV-62117-RNS
                     Plaintiff,

  v.

  TOYOTA MOTOR SALES, U.S.A., INC.,
  TOYOTA MOTOR CORPORATION, and
  SOUTHEAST TOYOTA DISTRIBUTORS,
  LLC,

                     Defendants.


       DEFENDANT TOYOTA MOTOR CORPORATION’S NOTICE OF JOINDER IN
         MOTION OF DEFENDANTS TOYOTA MOTOR SALES, U.S.A., INC. AND
       SOUTHEAST TOYOTA DISTRIBUTORS, LLC TO STAY OR TRANSFER THE
              ACTION TO THE CENTRAL DISTRICT OF CALIFORNIA

         Defendant Toyota Motor Corporation (“TMC”) joins in and adopts, as its own, Defendants

  Toyota Motor Sales, U.S.A., Inc. and Southeast Toyota Distributors, LLC’s Motion to Stay or

  Transfer to the Central District of California (“Motion to Stay or Transfer,” ECF No. 16) and the

  Reply in Support thereof (“Reply,” ECF No. 27), filed on December 20, 2021 and January 10,

  2022, respectively.1 To avoid needless duplication and burden on the Court, TMC has not repeated

  here all of the arguments in the Motion to Stay or Transfer, but instead incorporates by reference

  all of the arguments into this Joinder. For the reasons set forth in the Motion to Stay or Transfer

  and the Reply, TMC respectfully requests that the Court stay this action pursuant to the first-filed



  1
         On January 10, 2022, TMC, a Japanese corporation headquartered in Japan, was presented
  with and executed a waiver of service. (ECF No. 26-1.) Defendants’ deadline to file a Rule 12(b)
  motion challenging the Amended Complaint is February 4, 2022. (ECF No. 29.) TMC’s joinder
  in the pending Motion to Stay or Transfer is without waiver of its Rule 12(b) arguments and
  defenses.
Case 0:21-cv-62117-RNS Document 30 Entered on FLSD Docket 01/25/2022 Page 2 of 3




  rule, or alternatively, transfer this action to the Central District of California.



  Dated: January 25, 2022                                 Respectfully submitted,


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                                                      Counsel for Defendant Toyota Motor Sales,
                                                      U.S.A., Inc. and Toyota Motor Corporation




                                                      2
Case 0:21-cv-62117-RNS Document 30 Entered on FLSD Docket 01/25/2022 Page 3 of 3




                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 25th day of January, 2022, the foregoing was electronically

  filed with the Clerk of the Court by using the CM/ECF system, which will send a notice of

  electronic filing to all counsel of record.



                                                       /s/ Brian M. Ercole
                                                       Brian M. Ercole




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